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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA

                                      MEMORANDUM


Honorable John A. Mendez
United States District Judge
Sacramento, California

                                                RE:     Christobal MOODY
                                                        Docket Number: 2:02CR00086-01
                                                        SUBPOENA/REQUEST TO RELEASE
                                                        DOCUMENTS FROM PROBATION FILE

Your Honor:

The above offender was convicted of violations of 21 USC 846 - Conspiracy to Possess
Methamphetamine With Intent to Distribute, and 21 USC 841(a)(1) - Possession of
Methamphetamine With Intent to Distribute (2 counts). On August 22, 2002, Moody was sentenced
to a total of 113 months custody of the Bureau of Prisons on each count, to be served concurrently.
He was also sentenced to 5 years Supervised Release on each count, to be served concurrently.
Moody began supervision on May 28, 2010.


On December 30, 2010, a Petition for Warrant was filed alleging new law violations occurring in
Nevada County, California, for Possession of Narcotic Controlled Substances - Methamphetamine;
Possession for Sale of Narcotic Controlled Substances - Methamphetamine; Transportation of
Narcotic Controlled Substances - Methamphetamine; and Conspiracy. Moody remains in custody
pending those charges. The probation officer received a subpoena from the Nevada County District
Attorney's Office for Moody's scheduled trial on March 15, 2011. The District Attorney's Office is
requesting the probation officer testify in the upcoming trial currently scheduled for March 15, 2011.
In the alternative, the probation office, on the advice of the United States Attorney’s Office, proposes
the following:


1.      Nevada County District Attorney James Phillips requests a document identifying Moody as
        the person represented in certified copies of the judgment and sentencing in the federal case
        pursuant to Penal Code 667.5.



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      The probation office is requesting authorization to release a photograph taken by the
      probation officer of Moody holding a placard with his name and date of photograph of
      June 4, 2010. Other identifying information will be redacted.


2.    Nevada County District Attorney James Phillips requests a document verifying Moody's
      release from federal custody on May 28, 2010, to prove he committed a new law violation
      less than 5 years from his release from a custodial sentence.


      The probation office is requesting authorization to release the Prisoner Release Notification
      submitted by the Federal Bureau of Prisons and signed by the Community Corrections
      Manager, Mark Wilfing, notifying local law enforcement of Moody’s release to the
      community on May 28, 2010.


3.    Nevada County District Attorney James Phillips requests copies of Monthly Supervision
      Reports submitted by Moody to the probation officer for the months of June, July, August,
      September, October, and November 2010. He also requests the probation officer testify as
      to the content and authenticity of the forms.


      The probation office is requesting authorization to release copies of the six Monthly
      Supervision Reports with redactions of probation officer notes and offender’s responses to
      HIPPA related questions. However, the probation officer would submit an affidavit as to the
      authenticity of the documents in lieu of any testimony. The request of these forms speaks
      directly to Moody’s defense, and is contraindicative to his defense claims.




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        DOCUMENTS FROM PROBATION FILE




                                     Respectfully submitted,

                                       /s/ Dayna D. Ward

                                    DAYNA D. WARD
                           Senior United States Probation Officer

Dated: March 8, 2011
             Roseville, California
             :DDW/cd


REVIEWED BY:          /s/ Kyriacos M. Simonidis
                      KYRIACOS M. SIMONIDIS
                      Supervising United States Probation Officer


THE COURT ORDERS:

(X)     The requested documents be released to the Nevada County District Attorney’s Office

( )     The requested documents NOT be released to the Nevada County District Attorney’s Office

( )     Other:




         3-10-2011                                 /s/ John A. Mendez
 Date                                              Signature of Judicial Officer

cc:     United States Probation
        Yoshinori H.T. Himel, Assistant United States Attorney
        Robert M. Twiss, Assistant United States Attorney
        Dwight M. Samuel, Appointed Defense Counsel




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